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                                  BLENDTEC744207
  Tech:           Thank you for calling Blendtec. My name is Kate. How may I help you?

  Customer:       Yes, I would like to speak to somebody about my replacement product that
                  I had to destroy my unit because it was in a recall.

  Tech:           Oh, this is Blendjet?

  Customer:       Yes.

  Tech:           Okay, this is Blendtec, but I can give you the phone number for them.

  Customer:       Okay, this is Blendtec?

  Tech:           Yes.

  Customer:       And that’s not the blenders?

  Tech:           Uh, we do a commercial style blender. We don’t do the portable ones.

  Customer:       Oh. Okay. Um.

  Tech.           This is the number I got off their website. So, it’s 844-588

  Customer:       Uh, hold on one second. Okay, 844.

  Tech.:          588-1555

  Customer:       1555. Now, um, okay, I don’t understand.

  Tech:           We’re a different company.

  Customer:       A different company? Okay. So, you’re Blendtec.

  Tech:           We are Blendtec. They are Blendjet.

  Customer:       Gotcha. Okay, thank you.

  Tech:           You’re welcome. Bye bye.
